                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION


MOBILITY WORKX, LLC,

                      Plaintiff,
                                       Civil Action No.: 4:17-CV-00872-ALM
         v.

CELLCO PARTNERSHIP D/B/A               JURY TRIAL DEMANDED
VERIZON WIRELESS,

                      Defendant.


              VERIZON’S SUPPLEMENTAL MOTIONS IN LIMINE




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  1       Hernandez Deposition Transcript, June 21, 2019
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       Cellco Partnership d/b/a Verizon Wireless (“Verizon”) respectfully submits supplemental

motions in limine as follows.

MIL 20. Exclude Evidence and Arguments on Witness Tampering in Prior Cases

       The Court previously addressed whether Mobility Workx, LLC (“Mobility”) can present

evidence and argument regarding certain conspiracy theories alleged by Mobility and Dr. Edwin

Hernandez1. See Dkt. 179 at 2; Dkt. 174; Dkt. 102. Understanding the Court’s rulings on those

earlier motions, this motion addresses a finer point of Mobility’s potential argument and evidence

regarding its conspiracy theories that the Court has not previously ruled on. Specifically, Verizon

seeks to exclude argument or evidence to the case captioned Taurus IP, LLC v. DaimlerChrysler

Corp., 559 F. Supp. 2d 947, 970 – 975 (W.D. Wis. 2008) where Mr. Newton’s client was

determined to have engaged in witness tampering. Mr. Newton’s involvement in the Taurus case,

and the issue of witness tampering in that case, are irrelevant to the present patent infringement

dispute and create a substantial danger of undue prejudice and juror confusion.

       To allegedly support his conspiracy theories, Dr. Hernandez testified that he believed that

Mr. Newton was involved in witness tampering in connection with a previous case, more than a

decade ago. See Ex. 1 (Hernandez Tr., June 21, 2019) at 295:22-296:4. Mobility reiterated these

allegations in its response to Verizon’s Motion to Exclude the Opinions of Dr. Edwin A.

Hernandez, where Mobility stated that “the principals of Mobility did some research and learned

that both David Pridham and Michael Newton were involved with allegations of witness tampering

in Taurus IP, LLC v. DaimlerChrysler Corp., 559 F. Supp. 2d 947, 970 – 975 (W.D. Wis. 2008).”

Dkt. 110 at 6-7. As explained in Verizon’s Reply in Support of Its Motion to Exclude the Opinions



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  Dr. Hernandez is the inventor of the asserted ’330 patent, Mobility’s principal, and Mobility’s
testifying damages expert.

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of Dr. Edwin A. Hernandez, the Taurus matter involved Mr. Newton’s client’s efforts to prevent

a witness from committing perjury, which Judge Barbara Crabb held amounted to witness

tampering. Dkt. 115 at 3 n.2 (citing Taurus IP, 559 F. Supp. 2d at 973-74). The Court sanctioned

Mr. Newton’s clients but not Mr. Newton. Id. (citing Taurus IP, 559 F. Supp. 2d at 970).

       Verizon seeks a limited ruling to exclude Mobility from presenting evidence or argument

regarding the Taurus case, including the issues related to witness tampering.           First, these

allegations are unfounded, as explained above, where it was Mr. Newton’s clients who were

involved in the sanctionable conduct, and Judge Crabb did not sanction Mr. Newton. Second, such

allegations are irrelevant here, where they were addressed in the context of a completely separate

case, in a completely separate court, with completely separate parties, more than a decade ago.

       But even if such allegations had any relevance, that relevance would be vastly outweighed

by the high risk that such allegations would be prejudicial, inflammatory, and serve to confuse the

jury. Such allegations create the extremely prejudicial risk that the jury will unduly attribute

criminal behavior to Mr. Newton and/or Verizon, particularly where the jury will not have the

benefit of Judge Crabb’s explanation in the Taurus case that the Court need not find conduct

criminal to be sanctionable. See Taurus IP, 559 F. Supp. 2d at 973. Finally, it is worth noting that

allowing Mobility to present such allegations presents the risk of unduly tarnishing Mr. Newton’s

reputation in a public proceeding. Because Mobility may “provide what it contends is relevant

context” for the T-Mobile license, Dkt. 174 at 5, without publicly airing such unfounded

accusations and distracting from the substantive evidence, all evidence or arguments regarding the

Taurus case and witness tampering should be excluded.

MIL 21. Exclude Any Suggestion that Verizon’s Counsel Was Under an Obligation to
        Inform Mobility Workx of Previous Litigation History

       Related to Verizon’s motion in limine number 20, supra, Mobility should be precluded


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from presenting any evidence, argument, or suggestion that Mr. Newton or Alston & Bird LLP

were under an obligation to inform Mobility of Mr. Newton’s litigation history involving

Mobility’s previous counsel, Dominion Harbor.          Mobility should also be precluded from

presenting testimony to the jury regarding any failure to disclose any such alleged conflict of

interest. Mobility has indicated that it believes that that Mr. Newton was under an obligation to

inform Mobility that he had previously worked alongside of Mr. David Pridham when Mr. Pridham

was with IP Navigation, LLC (“IP Nav”). See Ex. 1 (Hernandez Tr., June 21, 2019) at 297:11-

298:17.

       Any allegations regarding IP Nav or any undisclosed alleged conflicts of interest should be

excluded because they are irrelevant, prejudicial, and confusing to the jury. The referenced IP Nav

litigations did not require any sort of disclosure to Mobility on behalf of Mr. Newton or Alston &

Bird, where those litigations occurred many years ago and had no relation whatsoever to Mobility

or the present action. See Ex. 2 (Texas Disciplinary Rules of Professional Conduct) at 28-41.

Moreover, if Mobility is permitted to present argument or evidence regarding any alleged conflict

of interest, there is a high risk that the jury will be confused and may unduly impute improper

actions to Mr. Newton, Alston & Bird, and/or Verizon. Therefore, all evidence or arguments

regarding a requirement to inform Mobility of previous litigations with David Pridham or any

allegations regarding a failure to disclose an alleged conflict of interest should be excluded.

                                          *       *      *

       Verizon respectfully requests that the Court grant its motions in limine as detailed above.


Dated: November 13, 2020                      Respectfully submitted,

                                              By: /s/ Ross R. Barton
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                                 CERTIFICATE OF SERVICE

       I certify that the foregoing document was served electronically on November 13, 2020, on

all counsel who have consented to electronic service.

                                                                   /s/ Ross R. Barton




                              CERTIFICATE OF CONFERENCE

       Pursuant to Eastern District of Texas Local Rule CV-7(h), I certify that Verizon counsel

sought to meet and confer on November 12, 2020 in a good faith effort to resolve all issues

regarding Defendant Verizon’s Supplemental Motions In Limine. Specifically, on November 11,

I emailed counsel for Mobility notifying them of Verizon’s requested relief and asking for a meet

and confer. In that email, I stated as follows:

               Verizon intends to file [] supplemental motions in limine seeking
               to exclude evidence and arguments on witness tampering in prior
               cases and to exclude any suggestion that Verizon’s counsel was
               obligated to inform Mobility Workx of previous litigation history.
               We will also seek a shortened response time so that the Court may
               hear argument on this issue at the upcoming Pretrial Conference.
               We expect that Mobility will oppose, but are willing to meet and
               confer on this tomorrow anytime tomorrow, November 12, after
               noon Eastern/9am Pacific.

As of the time of this motion, counsel for Mobility has not acknowledged or responded to

Verizon’s request for a meet-and-confer. In the absence of any response from Mobility, Verizon

continues to assume that Mobility Workx opposes this motion.

                                                                          /s/ Ross R. Barton



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